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                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )        CRIM. NO. 06-00079 DAE/KSC
                              )
          Plaintiff,          )        ORDER REGARDING SERVICE OF
                              )        DOCUMENT NUMBER 625 (“ORDER
     vs.                      )        GRANTING IN PART AND DENYING
                              )        IN PART EX PARTE MOTION ‘A’
NAEEM J. WILLIAMS, et al.,    )        OF DEFENSE COUNSEL FOR NAEEM
                              )        WILLIAMS”) AND DOCUMENT
          Defendants.         )        NUMBER 627 (“SECOND ORDER
                              )        GRANTING A PORTION OF EX
                              )        PARTE MOTION ‘A’ OF DEFENSE
                              )        COUNSEL FOR NAEEM WILLIAMS”)
                              )        ON COUNSEL FOR THE
                              )        GOVERNMENT;
                              )
                              )        ORDER AFFIRMING IN PART AND
                              )        MODIFYING IN PART DOCUMENT
                              )        NUMBER 627 (“SECOND ORDER
                              )        GRANTING A PORTION OF EX
                              )        PARTE MOTION ‘A’ OF DEFENSE
_____________________________ )        COUNSEL FOR NAEEM WILLIAMS”)

 ORDER REGARDING SERVICE OF DOCUMENT NUMBER 625 (“ORDER GRANTING
    IN PART AND DENYING IN PART EX PARTE MOTION ‘A’ OF DEFENSE
  COUNSEL FOR NAEEM WILLIAMS”) AND DOCUMENT NUMBER 627 (“SECOND
    ORDER GRANTING A PORTION OF EX PARTE MOTION ‘A’ OF DEFENSE
COUNSEL FOR NAEEM WILLIAMS”) ON COUNSEL FOR THE GOVERNMENT; ORDER
   AFFIRMING IN PART AND MODIFYING IN PART DOCUMENT NUMBER 627
   (“SECOND ORDER GRANTING A PORTION OF EX PARTE MOTION ‘A’ OF
               DEFENSE COUNSEL FOR NAEEM WILLIAMS”)

          On April 1, 2008, Defendant Naeem J. Williams filed Ex

Parte Motion “A,” Document Number 543.        The motion was set for

hearing before Magistrate Judge Leslie E. Kobayashi.

          On May 29, 2008, to insulate himself from matters

raised in the motion, the trial judge referred any appeal arising

out of Magistrate Judge Kobayashi’s ruling on Motion “A” to

another judge.   On May 30, 2008, the matter was assigned to this

judge.
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          On July 16, 2008, Magistrate Judge Kobayashi issued her

first order granting Motion “A” in part and denying it in part.

See Order Granting in Part and Denying in Part ex Parte Motion

“A” of Defense Counsel for Naeem Williams (July 16, 2008)

(Document Number 625).    That same day, Magistrate Judge Kobayashi

issued a second order granting Motion “A” in part.             See Second

Order Granting a Portion of ex Parte Motion ‘A’ of Defense

Counsel for Naeem Williams (July 16, 2008) (Document Number 627).

In many respects, this second order is identical to the first

order, with the main difference being that the second order

includes a discussion of attorney-client and work product

privileged matters.

          Both of the July 16, 2008, orders were filed under seal

to protect Williams’s right to a fair trial.        To date, neither

order has been served on counsel for the Government.            The court

now orders that the first order, Document Number 625, be served

on counsel for the Government.     That order, however, shall remain

under seal.   Because the second order, Document Number 627,

contains attorney-client and/or work product privileged matters,

the court orders that it not be served on counsel for the

Government.   The second order shall also remain under seal.

          No later than noon on Friday, August 8, 2008, Williams

must serve the Government with a copy of Williams’ Motion “A,”

along with exhibits.    Williams may redact matters subject to the


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attorney-client privilege or work product doctrine from his

motion and exhibits, but the redacted filing must clearly

indicate where material has been redacted.

             This order disposes of the Government’s Appeal filed on

August 4, 2008, Document Number 657.

             Williams has filed appeals of both orders filed on

July 16, 2008, Document Numbers 625 and 627.        Williams is ordered

to immediately serve both of the appeals on the Government, as

neither contains a discussion of attorney-client or work product

matters.   Because this court has determined that the second order

(Document Number 627) shall not be served on the Government, the

court now decides Williams’s appeal pertaining to that order.

However, because this court has determined that the first order

(Document Number 625) shall be served on the Government, the

court does not now decide the appeal of that order.            Instead, the

Government shall also have the opportunity to appeal that order

no later than August 12, 2008, as this court discussed with the

parties at the hearing on July 24, 2008.       See Minutes (July 24,

2008), Document Number 652.

             The second order filed on July 16, 2008, is affirmed in

part and modified in part.     To the extent Williams complains that

Magistrate Judge Kobayashi failed to consider correspondence

referred to in the second order as Exhibit B, this court affirms

the order.    The letter contains statements that are hearsay,


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unsworn, and, in many instances, unsupported.            This court has

reviewed the entire letter and has determined that, even if the

court overlooked those concerns, nothing in the letter would make

a difference with respect to the second order issued on July 16,

2008.

            To the extent the second order appoints independent

counsel to conduct negotiations, if any, the court modifies the

order.   Independent counsel shall be appointed to first

determine whether present defense counsel is disabled from

continuing to represent Williams because of matters raised in

Motion “A”.    Whether independent counsel will conduct

negotiations, should the parties desire such negotiations, is a

matter left for such future determination as may be appropriate.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, August 6, 2008.



                                           /s/ Susan Oki Mollway
                                          Susan Oki Mollway
                                          United States District Judge



United States of America v. Williams, Crim. No. 06-00079 DAE/KSC; ORDER
REGARDING SERVICE OF DOCUMENT NUMBER 625 (“ORDER GRANTING IN PART AND DENYING
IN PART EX PARTE MOTION ‘A’ OF DEFENSE COUNSEL FOR NAEEM WILLIAMS”) AND
DOCUMENT NUMBER 627 (“SECOND ORDER GRANTING A PORTION OF EX PARTE MOTION ‘A’
OF DEFENSE COUNSEL FOR NAEEM WILLIAMS”) ON COUNSEL FOR THE GOVERNMENT; ORDER
AFFIRMING IN PART AND MODIFYING IN PART DOCUMENT NUMBER 627 (“SECOND ORDER
GRANTING A PORTION OF EX PARTE MOTION ‘A’ OF DEFENSE COUNSEL FOR NAEEM
WILLIAMS”)


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